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                             UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA

JEFFREY BERK, et al.,                        Case No.: 18-cv-01364-VC

               Plaintiffs,                   JOINT CASE MANAGEMENT
                                             STATEMENT
vs.
                                             Date: July 10, 2019
COINBASE, INC., et al.,                      Time: 10:30 a.m.

               Defendants.                   Judge: Hon. Vince Chhabria
                                             Ctrm: 4, 17th Floor




JOINT CASE MANAGEMENT STATEMENT
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       The parties jointly submit this Subsequent Case Management Statement in advance of

the upcoming July 10, 2019 Case Management Conference. The parties refer the Court to their

last filed Case Management Statement. (Dkt 71.) There have been no developments in the case

since then.



DATED: July 3, 2019                        GREEN & NOBLIN, P.C.


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                                             Attorneys for Defendants
                                             COINBASE, INC., BRIAN ARMSTRONG
                                             And DAVID FARMER

                                       ATTESTATION
       I hereby attest that I have obtained concurrence in the filing of this document from each

of the other persons whose signatures are indicated by a conformed signature (/S/) within this e-

filed document.


DATED: July 3, 2019                                  /s/ Robert S. Green
                                                     Robert S. Green




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JOINT CASE MANAGEMENT STATEMENT
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